            Case 2:16-bk-55118                      Doc 73          Filed 02/04/21 Entered 02/04/21 14:04:13                                Desc Main
   Fill in this information to identify the case:                   Document     Page 1 of 3
Debtor 1                 Alexander Lee Sombaty
                         _____________________________________________________________________


Debtor 2                 _____________________________________________________________________
(Spouse, if filing)

                                        Southern District of Ohio
United States Bankruptcy Court for the: ______________________________________________________________________________________________________

             1655118
Case number __________________________



 Official Form 410S1
 Notice of Mortgage Payment Change                                                                                                                     12/15

 If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
 debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
 as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
 Name of creditor:                                                                                                             2
                                                                                                   Court claim no. (if known): _______________________
 Wells Fargo Bank N.A.




                                                                                                   Date of payment change:
                                                                                                   Must be at least 21 days after date
                                                                                                   of this notice                           03/01/2021
                                                                                                                                            _____________


                                                                                                  New total payment:
                                                                                                                                             1223.32
                                                                                                                                            $________________
                                                                                                  Principal, interest, and escrow, if any
 Last 4 digits of any number you use to
 identify the debtor’s account:                                      2 ____
                                                                    ____ 0 ____
                                                                            7 ____
                                                                                8

   Part 1:            Escrow Account Payment Adjustment

  1.        Will there be a change in the debtor’s escrow account payment?

            
            ✔   No
               Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
                for the change. If a statement is not attached, explain why:



                Current escrow payment: $ _________________                                                 New escrow payment: $ _________________

  Part 2:             Mortgage Payment Adjustment

  2.        Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
            variable-rate account?
            
            ✔   No
               Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why:



                Current interest rate: __________________%                                      New interest rate: __________________%

                Current principal and interest payment: $ __________________                    New principal and interest payment: $ __________________

  Part 3:             Other Payment Change


       3.    Will there be a change in the debtor’s mortgage payment for a reason not listed above?
                 No
             ✔
                 Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                  (Court approval may be required before the payment change can take effect.)
                Reason for change:
                Payment change resulting from a decrease in premium for Mortgage Insurance.



                                                   1224.94
                      Current mortgage payment: $ _________________                                                        1223.32
                                                                                                   New mortgage payment: $ _________________
 Official Form 410S1                                                    Notice of Mortgage Payment Change                                             page 1
                Alexander Lee Sombaty                                                                1655118
     Case
      Debtor 12:16-bk-55118              Doc 73 Filed       02/04/21 EnteredCase
                 ________________________________________________________
                 First Name      Middle Name      Last Name
                                                                                02/04/21       14:04:13
                                                                                  number (if known)             Desc Main
                                                                                                    ______________________
                                                 Document           Page 2 of 3
 Part 4:      Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.


 Check the appropriate box.

    
    ✔   I am the creditor.

       I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
 information, and reasonable belief.




     /s/Angela M. Mills-Fowler
      ______________________________________________________________
      Signature
                                                                                      02/04/2021
                                                                                Date _______________




 Print:______________________________________________________________
        FOWLER,ANGELA M. MILLS                                                   VP Loan Documentation
                                                                                ____________________________________________________________
        First Name            Middle Name             Last Name                 Title


 Company Wells Fargo Bank, N.A.
         ____________________________________________________________

 Address    MAC N9286-01Y
            _____________________________________________________________
            Number                  Street

            1000 Blue Gentian Road
            _____________________________________________________________
            Address 2

             Eagan                                   MN      55121-7700
            _____________________________________________________________
              City                                      State        ZIP Code



                     800-274-7025                                                NoticeOfPaymentChangeInquiries@wellsfargo.com
 Contact phone _________________________                                        ____________________________________________________________
                                                                                Email




Official Form 410S1                                     Notice of Mortgage Payment Change                                              page 2
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                                                   Document
                        UNITED STATES BANKRUPTCY COURT          Page 3 of 3

                                                        Southern District of Ohio


                                                     Chapter 13 No. 1655118
                                                     Judge: John E. Hoffman Jr.

In re:
Alexander Lee Sombaty
                                           Debtor(s).

                                           CERTIFICATE OF SERVICE
I hereby certify that this Notice, including all attachments, is being served on or before February 05, 2021 via filing with the US
Bankruptcy Court's CM ECF system or by mailing or providing a copy of this document to a vendor for mailing: By U.S. Postal
Service First Class Main Postage Prepaid or FedEx.


Debtor:                             By U.S. Postal Service First Class Mail Postage Prepaid or FedEx
                                     Alexander Lee Sombaty
                                     3385 Vickers Drive

                                     Westerville OH 43081



                                    By U.S. Postal Service First Class Mail Postage Prepaid or FedEx
                                     N/A




Debtor’s Attorney:                   By Court's CM/ECF system registered email address
                                     Derek Michael Shaw
                                     Calig Law Firm
                                     513 E. Rich Street Suite 210

                                     Columbus OH 43215


                                     By Court's CM/ECF system registered email address
                                     N/A




Trustee:                             By Court's CM/ECF system registered email address
                                     Faye D. English
                                     Chapter 13 Trustee
                                     10 West Broad Street Suite 1600

                                     Columbus OH 43215-3419

                                                          _______________________________________________
                                                          /s/Angela M. Mills-Fowler
                                                           VP Loan Documentation
                                                           Wells Fargo Bank, N.A.
